          Case 6:18-cv-06503-FPG Document 5 Filed 11/26/18 Page 1 of 4



UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

RONNIE EDGESTON,

                                       Plaintiff,
                                                                        Case # 18-CV-6503-FPG
v.
                                                                        ORDER TO SHOW CAUSE


THE CITY OF ROCHESTER,
ROCHESTER POLICE DEPARTMENT,
ROCHESTER POLICE OFFICERS PAUL ROMANO,
E. ALEXANDER, MAZURKIEWICZ, and
THOMAS KIRK,

                                       Defendants.


                                        INTRODUCTION

       On May 10, 2017, Plaintiff Ronnie Edgeston filed a notice of claim in the Supreme Court

of the State of New York, County of Monroe, (Supreme Court) pursuant to New York General

Municipal Law § 50-e. See O’Brien v. City of Syracuse, 54 N.Y.2d 353, 358 (1981) (“A notice of

claim is a condition precedent to bringing a tort claim against a municipality.”). In it, Edgeston

named the same Defendants as he does in this action and explained that he intended to bring

various claims against them for violations of his Fourth and Fourteenth Amendment rights

stemming from an alleged excessive use of force during Edgeston’s arrest on February 11, 2017.

ECF No. 1-2 at 10-11.

       A year and one day later, on May 11, 2018, Edgeston filed a summons and complaint in

Supreme Court against Defendants. ECF No. 1-2 at 1-8. The complaint contains three claims:

one for assault, battery, and excessive force, another for negligent screening, hiring, retention, and

supervision, and one for negligent screening, training, retraining, and supervision. Id. at 4-8.
           Case 6:18-cv-06503-FPG Document 5 Filed 11/26/18 Page 2 of 4



        On July 9, 2018, Defendants removed the case to this Court and then, eight days later,

moved to dismiss Edgeston’s second and third claims. ECF Nos. 1, 2. Edgeston does not oppose

the motion. ECF No. 4.

                                           DISCUSSION

        Federal courts have limited jurisdiction; that is, “they have only the power that is authorized

by Article III of the Constitution and the statutes enacted by Congress pursuant thereto.” Bender

v. Williamsport Area Sch. Dist., 475 U.S. 534, 541 (1986) (citing Marbury v. Madison, 5 U.S. 137,

173-80 (1803)). Consequently, federal courts must presume that a “cause lies outside this limited

jurisdiction and the burden of establishing the contrary rests upon the party asserting jurisdiction.”

Kokkonen v. Guardian Life Ins. Co. of America, 511 U.S. 375, 377 (1994) (citations omitted).

When a party does not meet that burden and even where the court’s subject-matter jurisdiction is

not challenged, “federal courts have a duty to inquire into” it. F5 Capital v. Pappas, 856 F.3d 61,

75 (2d Cir. 2017).

        Generally, a court has subject-matter jurisdiction if either federal-question or diversity

jurisdiction are established as described in 28 U.S.C. §§ 1331 and 1332. Winter v. Novartis

Pharms. Corp., 39 F. Supp. 3d 348, 350 (E.D.N.Y. 2014). Diversity jurisdiction exists when the

parties are citizens of different states and the amount in controversy exceeds $75,000. 28 U.S.C.

§ 1331(a)(1); Rush v. Hillside Buffalo, LLC, 314 F. Supp. 3d 477, 481 (W.D.N.Y. 2018). Here,

Edgeston and the Defendants are all citizens of New York, so the Court cannot have diversity

jurisdiction.

        That leaves federal-question jurisdiction. Caterpillar Inc. v. Williams, 482 U.S. 386, 392

(1987) (“Absent diversity of citizenship, federal-question jurisdiction is required.”). Federal-

question jurisdiction is present when a civil action “arises under” the Constitution, laws, or treaties




                                                 -2-
            Case 6:18-cv-06503-FPG Document 5 Filed 11/26/18 Page 3 of 4



of the United States. 28 U.S.C. § 1331(a)(1). A court determines whether federal-question

jurisdiction exists under the “‘well-pleaded complaint rule,’ which provides that federal

jurisdiction exists only when a federal question is presented on the face of the plaintiff’s” well-

pleaded complaint. Caterpillar Inc., 482 U.S. at 392. “The rule makes the plaintiff the master of

the claim; he or she may avoid federal jurisdiction by exclusive reliance on state law.” Id. See

also The Fair v. Kohler Die & Specialty Co., 228 U.S. 22, 25 (1913) (“Of course the party who

brings a suit is master to decide what law he will rely upon . . . .”).

         Here, while Edgeston mentions his Fourth and Fourteenth Amendment rights and section

1983 1 in his notice of claim, he does not reference them in his complaint. Indeed, while the

complaint alleges a claim for “excessive force” along with assault and battery, it does not purport

to bring the claim under section 1983. Consequently, based on the complaint, Edgeston wishes to

rely on state law, and not federal law, for his claims. 2




1
  Section 1983 is not the source of a substantive right, but it provides a procedure to hold others responsible for a
violation of one’s rights under the Constitution and laws of the United States. Burroughs v. Mitchell, 325 F. Supp. 3d
249, 268 (N.D.N.Y. 2018); 42 U.S.C. § 1983. Consequently, bringing a claim under section 1983 would establish
federal-question jurisdiction.
2
  In his notice of claim, Edgeston notes that he intends to vindicate rights guaranteed under the Fourth and Fourteenth
Amendments to the United States Constitution, Article 1, Section 12 of the New York Constitution, and New York
Civil Rights Law Section 8 via his excessive-force claim. ECF No. 1-2 at 11. Private rights of action are available
under Article 1, Section 12 of the New York Constitution, but only where no alternative remedy to protect plaintiff’s
interests exists. Gustafson v. Village of Fairport, 106 F. Supp. 3d 340, 350-51 (W.D.N.Y. 2015). Section 1983
provides such an alternative remedy; as explained above, however, Edgeston’s complaint does not reference it.


                                                        -3-
          Case 6:18-cv-06503-FPG Document 5 Filed 11/26/18 Page 4 of 4



       Defendants are therefore ordered to show cause in writing by December 7, 2018, why this

case should not be remanded to the Supreme Court of the State of New York, County of Monroe,

for lack of subject-matter jurisdiction.

       IT IS SO ORDERED.

Dated: November 26, 2018
       Rochester, New York


                                           ______________________________________
                                           HON. FRANK P. GERACI, JR.
                                           Chief Judge
                                           United States District Court




                                            -4-
